Case 8:20-cv-02034-TPB-AAS Document 11 Filed 11/09/20 Page 1 of 5 PageID 57




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

FREDERICK B. BLAIR, individually, and
on behalf of all others similarly situated,

       Plaintiff,

v.                                                      Case No: 8:20-cv-2034-T-60AAS

HUNTER WARFIELD, INC.,

       Defendant.


                    CASE MANAGEMENT AND SCHEDULING ORDER

       This cause is before the Court for consideration of completion of discovery and the

scheduling of pretrial procedures and trial. The Court has considered the positions of the

parties as set forth in their Case Management Report, and hereby enters the following

scheduling and case management requirements whose provisions are very precise and

shall be strictly adhered to. Accordingly, it is ORDERED:

        1.    Parties are directed to meet the agreed upon terms and time limits set forth
in their Case Management Report, which to the extent not inconsistent with the terms of
this order are specifically incorporated herein by reference, including as noted below
(including any exceptions deemed appropriate by the Court):

        Third Party Joinder/Amend Pleading                          December 30, 2020
        Discovery Cut-Off                                            February 25, 2022
        Dispositive Motion filing                                       March 25, 2022
        Pretrial Statement due                          At least 7 days prior to pretrial
                                                                            conference
        Plaintiff Expert Disclosure                                    January 7, 2022
        Defendant Expert Disclosure                                   February 7, 2022
        Estimated length of trial                                                2 days
        Trial Type                                                                  Jury

       2.     Parties are further directed to meet the pretrial disclosure requirements and
deadlines in Fed.R.Civ.P. 26(a)(3) and to adhere timely to all requirements in Local Rule
3.06 concerning Final Pretrial Procedures, as supplemented herein at ¶ 6. Parties are
advised to review the amendments to the Rules of Civil Procedure regarding
Case 8:20-cv-02034-TPB-AAS Document 11 Filed 11/09/20 Page 2 of 5 PageID 58




discovery, which became effective December 1, 2000. See Fed.R.Civ.P. (Supp.
2000).

       3.      Parties shall take heed that motions to amend any pleading or a motion for
continuance of any pretrial conference, hearing or trial filed after issuance of this Case
Management and Scheduling Order are disfavored. See Local Rules 3.05(c)(2)(E) and
3.05(c)(3)(D).

      4.    A Pretrial Conference will be held before Judge Tom Barber, in Courtroom
14A, 801 North Florida Avenue, Tampa, Florida, on July 13, 2022, at 1:30 PM.

      THE COURT WILL NOT ADDRESS DISCOVERY DISPUTES OF ANY
      KIND AT TRIAL. ANY DISCOVERY DISPUTE FOR WHICH THE PARTIES
      SEEK JUDICIAL RESOLUTION MUST BE ADDRESSED AT OR BEFORE
      THE PRETRIAL CONFERENCE. THE PARTIES MAY AGREE ON ANY
      MATTER REGARDING DISCOVERY, BUT EACH PARTY ASSUMES THE
      RISK OF NON-COMPLIANCE BY THE OTHER UNLESS THE ISSUE HAS
      BEEN ADDRESSED BY THE COURT AT THE PRETRIAL CONFERENCE.

       5.    This case is set for jury trial during the term commencing August 2022
before the Honorable Tom Barber. This trial term shall include the entire month of August
2022 and shall be verified on a separate trial calendar.

             (a)    Any motions in limine shall be filed with the Clerk of Court at least
three (3) weeks prior to the commencement of trial.

        6.   SUMMARY JUDGMENT PROCEDURES: The following procedures shall
be followed by the parties:

              (a)     A party’s claims or defenses for which summary judgment is sought
shall be presented in a single motion and incorporated memorandum of law which,
absent prior permission of the Court, shall not exceed twenty-five (25) pages total.
Multiple motions for summary judgment will not be permitted. A violation of any of these
directives will result in the Court sua sponte striking a party’s motion for summary
judgment and incorporated memorandum of law without notice.

               (b)    Prior to filing a motion for summary judgment, the moving party shall
confer in good faith with the party or parties against who summary judgment is sought for
the purpose of narrowing the factual issues in dispute. A party by separate pleading filed
contemporaneously with the motion for summary judgment and incorporated
memorandum of law shall certify that such a conference has taken place and that the
parties were or were not able to agree on a narrowing of the factual issues in dispute.
Unless the parties are in full agreement as to the undisputed facts, the movant shall file
a separate "Statement of Undisputed Facts"(not exceeding 20 pages in length), with
citations to the record, which shall accompany the motion for summary judgment.

          (c)    Any party opposing a summary judgment motion shall file a
memorandum of law in opposition no later than the time allotted pursuant to Local Rule


                                            2
Case 8:20-cv-02034-TPB-AAS Document 11 Filed 11/09/20 Page 3 of 5 PageID 59




3.01(b). To the extent that the party opposing a motion for summary judgment disputes
any facts asserted in the motion, a separate "Statement of Disputed Facts"(not exceeding
20 pages in length), with citations to the record, shall accompany the memorandum in
opposition. All material facts set forth by the moving party shall be deemed admitted
unless controverted by a separate Statement of Disputed Facts.

              (d)    Pursuant to Rule 56(c), Fed.R.Civ.P., as interpreted by the Eleventh
Circuit Court of Appeals, the parties are hereby put on notice that the Court will take any
motion for summary judgment and all materials in support or in opposition thereto under
advisement as of the last day of filing pleadings pertaining to the motion for summary
judgment, as that date is mandated by the rules of procedure or by order of the Court.
Failure to respond to a motion for summary judgment shall indicate there is no opposition
to the motion and may result in final judgment being entered without a trial or other
proceeding.

              (e)    Motions to extend time or to alter any requirements set forth in this
order or the other rules governing summary judgment motions, including the page limit
for memoranda of law pursuant to the Local Rules, are distinctly disfavored.

              (f)    Oral argument or hearings will generally NOT be held on the motion.

              (g)    A violation of any of these directives will result in the Court sua
sponte striking a party’s motion for summary judgment and incorporated memorandum of
law without notice.

       7.   Not later than seven (7) days prior to the date on which the trial term is
set to commence, see ¶5, the parties shall file with the Clerk of Court, the following (and
as to each of the following, provide directly to Chambers, by mail or hand-delivery a
"Judge's Courtesy Copy," so marked):

              (a)    Each side shall file a Trial Brief, with citations of authorities and
arguments specifically addressing all disputed issues of law likely to arise at trial; and
either (b) or (c) below, as appropriate.

              (b)    If case is a jury trial, the following:

                     (1)   A concise (one paragraph preferably) joint or stipulated
statement of the nature of the action to be used in providing a basic explanation of the
case to the jury venire;

                      (2)    The Court requires the following as to jury instructions in this
case: The parties must confer on the jury instructions and submit to the Court up to three
packets: 1) all instructions that are undisputed; 2) instructions proposed by the plaintiff
but not acceptable to the defense; and 3) instructions proposed by the defense but not
acceptable to the plaintiff. A complete set of all written Proposed Jury Instructions
(which shall bear a cover sheet with the complete style of the case and appropriate
heading designating the submitting party; there shall be no more than one instruction per
page.


                                              3
Case 8:20-cv-02034-TPB-AAS Document 11 Filed 11/09/20 Page 4 of 5 PageID 60




                      (3)    Proposed Voir Dire: The Court will conduct the voir dire and,
in addition to the usual more general questions, will without initiation by counsel ask more
particular questions suggested by the nature of the case; counsel should, therefore, be
selective in the jury questions submitted to the Court for consideration; and

                     (4)   Proposed Verdict Form (again the parties should confer on
the verdict form and inform the Court if there is agreement as to the verdict form).

               (c)    If case is a non-jury trial, Proposed Findings of Fact and
Conclusions of Law (each shall be separately stated in numbered paragraphs; Findings
of Fact shall contain a detailed listing of the relevant material facts the party intends to
prove, in a simple, narrative form; Conclusions of Law shall contain a full exposition of the
legal theories relied upon by counsel).

        8.     The Pretrial Conference shall be attended by counsel who will act as lead
trial counsel in the case and who is vested with full authority to make and solicit disclosure
and agreements touching all matters pertaining to the trial. Each party shall also have
present a person with full settlement authority.

       9.     MEDIATION: The parties shall participate in court-annexed mediation on or
before March 4, 2022. The parties shall file a stipulation selecting a mediator within sixty
(60) days of the date of this order. There will not be an order to mediate issued from the
Court unless specifically requested by the parties. The list of certified mediators is
available in the Clerk's Office or on the internet at www.flmd.uscourts.gov under
"Attorney Resources." Additionally, at least 45 days prior to the mediation
deadline, Plaintiff shall file a notice that informs the Court of the date on which the
parties’ mediation is scheduled.

        10.  CONSENT TO TRIAL BY MAGISTRATE JUDGE: In accordance with 28
U.S.C. 636 (c) and Fed.R.Civ.P.73, the parties may consent to have the assigned United
States Magistrate Judge conduct any and all further proceedings in this case, including
the trial.




                                              4
Case 8:20-cv-02034-TPB-AAS Document 11 Filed 11/09/20 Page 5 of 5 PageID 61




       11.  SETTLEMENTS: Counsel shall immediately notify Chambers or the
Courtroom Deputy Clerk if their case has settled. (See Local Rule 3.08). Notices of
settlement must be in writing.

        DONE and ORDERED in Chambers, in Tampa, Florida this 9th day of November,

2020.




                                            TOM BARBER
                                            UNITED STATES DISTRICT JUDGE


Copies to:
Counsel of Record
Unrepresented Parties




                                        5
